         Case 1:21-cr-00040-TNM Document 570 Filed 03/12/23 Page 1 of 6




                 IN THE UNITED STATES DISTRICT COURT FOR
                 THE DISTRICT OF THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES,                       )
                                     )
      v.                             )   Crim. No. 21cr40
                                     )   Hon. Trevor McFadden
GEOFFREY SILLS,                      )   UNDER SEAL
      Defendant.                     )
____________________________________)

                       DEFENDANT’S POSITION ON SENTENCING

       Comes now Defendant Geoffrey Sills, by counsel, and notes the following objections to

the Presentence Report (“PSR,” Doc. 507).

Guideline Calculation

       Group Comprising Robbery

       The PSR wrongly applies a Victim Related Adjustment of six levels under USSG

3A1.2(b) for an official victim (PSR para 59). Section 3A1.2(b) is restricted to offenses

delineated in Chapter Two, Part A of the Guidelines for Offenses Against the Person. Robbery,

however, falls under Part B of Chapter Two of the Guidelines for Economic Offenses.

       The correct offense level for this count (and group) is 20, the Base Offense Level

indicated by Section 2B3.1 to which no enhancements apply.

       Group Comprising Assaulting Law Enforcement with a Dangerous Weapon and
       Obstruction of Official Proceeding

       The PSR wrongly applies enhancements of eight and three levels, respectively, for

interference with the “administration of justice (PSR paras 65 and 66). This Court has already

declined to apply these enhancements for the reason that the electoral vote count of January 6 th

did not constitute the administration of justice. See United States v. Seefried, ___________.




                                                 1
         Case 1:21-cr-00040-TNM Document 570 Filed 03/12/23 Page 2 of 6




       The PSR also wrongly adds six levels of enhancement under Section 3A1.2(b) for

Official Victim (PSR para 67). Application Note 2 of Section 3A1.2, however, specifically

excludes application of this enhancement to Obstruction of Law Enforcement calculated under

Section 2A2.4.

       The correct offense level for the count of Assault on Law Enforcement with a Dangerous

Weapon is 13 – calculated under Section 2A2.4 as a Base Offense Level of 10 with three levels

of enhancement under subsection (b)(1) for the use of a dangerous weapon and physical contact.

       The correct offense level for the Obstruction of an Official Proceeding is 14 – calculated

at the Base Offense Level of 14 under Section 2J1.2 without enhancements for impediment of

the administration of justice as held by this Court in Seefried.

       Section 3D1.3(a) attributes to this group the value of the most serious charge comprised

therein - 14 for the count of Obstructing an Official Proceeding.

       Aggregate Guideline Calculus

       Section 3D1.4 posits the aggregate offense level of the two groups by adding one level to

the offense level of the most serious group – i.e., the group solely comprising the Robbery count

with an offense level of 20 – to yield an aggregate offense level for both counts of 21.

       Acceptance of Responsibility

       The PSR wrongly denies Defendant’s acceptance of responsibility (PSR para 50) –

notwithstanding he stipulated to the facts underpinning his conviction (Doc 427). Further, the

PSR incorrectly states that Defendant submitted no additional statement (PSR para 49).

Undersigned clearly recalls Defendant orally acknowledging responsibility for his offense

conduct during his interview with the PSR’s author.




                                                  2
         Case 1:21-cr-00040-TNM Document 570 Filed 03/12/23 Page 3 of 6




       Undersigned expects the government will not contest a two level reduction for acceptance

of responsibility and will move a third level of reduction at the appropriate time.

       Correctly calculated, Defendant’s ultimate guideline range will be at a Level 18 of 27 to

33 months.

Factors Warranting a Downward Departure

       The PSR identifies no factors warranting a downward departure (PSR para 141). In fact,

this case is dense with them.

       Need to Avoid Sentencing Disparities

       The government has shown remarkable leniency toward rioters unrelated to the riot of

January 6th. This Court has recognized in a ruling on a motion co-defendant Judd that “disparate

charging decisions in similar circumstances may be relevant at sentencing.” (Doc. 203 at 12).

The murder of George Floyd ushered in months of riots across the country – nowhere more

virulent that those in Portland, Oregon where the rioters tried to burn down a federal courthouse.

Counsel for co-defendant Judd has submitted a precis of the cases prosecuted by the government

in response to the Portland riots (Doc. 529-4). The contrast between the government’s charging

decisions in Portland and in the January 6th cases is dramatic and disturbing.

       Of 38 Portland cases tracked by counsel for co-defendant Judd, 30 were dismissed

outright, and two were dismissed pursuant to diversion agreements. Many of these entailed

assaultive behavior far more severe than Defendant’s – lasering officers’ eyes (capable of

causing permanent loss of vision), punching and kicking officers, throwing lit fireworks at

them… A small minority of three Portland defendants to have lasered officers in the eyes did

not enjoy dismissal and received sentences of one day, six months home detention, and

probation, respectively. The only two cases to result in significant confinement entailed




                                                 3
             Case 1:21-cr-00040-TNM Document 570 Filed 03/12/23 Page 4 of 6




defendants who had struck officers repeatedly about the head with a hammer in one instance and

a baseball bat in the other.        These received 46 and 24 months respectively. 1

           There is no plausibly appropriate explanation for the sharply discrepant results of the

Portland prosecutions and the government’s charging decisions on the January 6 th cases.

           Circumstances Not of Defendant’s Making

           Defendant did not come to Washington that day with any intention of doing violence. He

carried a gas mask and tactical gear because he feared a terrorist attack (PSR para 23). He came

to Washington and he went to the Capitol because his President asked him to.

           Just prior to the breach of the Capitol, President Trump exhorted the assembled protesters

at the Ellipse. He said, in part:

                    “These people [referring to his crowd while addressing media] are not going to
                    take it any longer.”

                    “They rigged an election.”

                    “We won this election and we won it by a landslide.”

                    “All of us here today do not want to see our election victory stolen.”

                    “We will never give up.”

                    “Our country has had enough and we will not take it anymore.”

                    “We will stop the steal.”

                    “If you don’t fight like hell, you’re not going to have a country anymore.”

                    “Peacefully and patriotically, make your voices heard.”

                    “We are going to the Capitol.”

Capitol riots: Did Trump’s words at rally incite violence? BBC News, January 13, 2021,
www.bbc.com.



1
    United States v. Jacob Gaines, 3:20cr290; United States v. Dakota Horton, 3:20cr419.


                                                           4
            Case 1:21-cr-00040-TNM Document 570 Filed 03/12/23 Page 5 of 6




           Whether or not the penultimate sentence could reasonably be expected to calm the

already agitated crowd, the sitting President of the United States told the crowd to go the Capitol

and “Stop the Steal.”

           Once there, Defendant found himself in a maelstrom. The Capitol and the Metropolitan

Police were grossly under resourced (the Congressional leadership having days earlier refused

National Guard help), and bereft of leadership, not to mention a plan. The protest march became

a riot.2

           The mood of a mob is a palpable thing – compelling to overwhelming to those inside it.

That is why mobs are dangerous.

                                     [REDACTED CONTENT]

           Conditions of Pretrial Confinement

           Defendant will speak to the conditions of his confinement for a year and a half at the

Northern Neck Regional Jail. The Court, however, may safely infer substandard treatment of

inmates from the facts of Defendant’s having contracted MRSA at the facility (PSR para 95) and

the Marshal’s Service having moved January 6th defendants en masse from the facility.

                                                   Conclusion


2
  The extent to which the rioters were instigated or abetted by official actors – overt and otherwise – has not been,
and may never be, satisfactorily established. Defendant has conceded the facts of his conduct. Should a
determinative official role in the day’s debacle ever be established, however, his conviction would be susceptible to
scrutiny under the principle of Entrapment by Estoppel.

                           “A criminal defendant may assert an entrapment-by-estoppel
                           defense when the government affirmatively assures him that
                           certain conduct is lawful, the defendant thereafter engages in
                           the conduct in reasonable reliance on those assurances, and a
                           criminal prosecution based upon the conduct ensues.

United States v. Aquino-Chacon, 109 F. 3d 936, 938-39 (4th Cir. 1997) (citing Raley v. Ohio, 360 U.S. at 423, 438-
39 (1959); United States v. Clark, 986 F.2d 65, 69 (4th Cir. 1993); United States v. Howell, 37 F.3d 1197, 1204 (7th
Cir. 1994)).




                                                          5
         Case 1:21-cr-00040-TNM Document 570 Filed 03/12/23 Page 6 of 6




       Defendant has absolutely no criminal history. He did not arrive that day planning or

expecting to wreak violence. There is no evidence that he injured anyone. He went because his

President asked him to. Once there, he stepped into a maelstrom not of his making.

[REDACTED CONTENT]

       He is very sorry and will never replicate his conduct of January 6th.

       Throughout the period of his pretrial confinement, Defendant’s father’s health has

declined precipitously. He suffers Thalassemia (for which he has received three transfusions in

the last month), Diabetes, and has recently fractured his femur and his tibia.

       Defendant has already been confined too long.

                                                      Respectfully submitted,

                                                      GEOFFREY SILLS
                                                      By Counsel

                                                      _____/s/____________
                                                      John C. Kiyonaga

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                                                      Counsel for the Defendant

                                 Certificate of Electronic Service

       I hereby certify that on March 7, 2023, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF System.
                                                     ____/s/_____________
                                                     John C. Kiyonaga




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